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                                                                            U.S. DISTRICT COURT
                                                                       EASTERN DISTRICT OF ARKANSAS

                       IN THE UNITED STATES DISTRICT COURT
                                                                                   FILED
                           EASTERN DISTRICT OF ARKANSAS                            OCT 2 4 2012
                                 WESTERN DIVISION
                                                                             IN OPEN COURT
                                                                       JAMES W. McCORMACK, CLERK
UNITED STATES OF AMERICA,                       *                       BY:   ~.W~
                                                *                            DEPUTY CLEF~;<
                                                *
                       V.                       *
                                                *
                                                *            No. 4:12CR00186-06 DPM
JUSTIN PENNOCK                                  *



                                            ORDER

       The Court held a hearing on the government's Motion to Revoke Pretrial Release. Mr.

Pennock appeared with his attorney, Mr. Mark Jesse, Esq. The United States was represented by

Messrs. Michael Gordon, Esq., and Chris Givens, Esq.

       Upon the agreement of the parties, the Court now modifies Defendant Pennock's

conditions of release as follows:

       1. Mr. Paige Pennock is relieved as third party custodian.

       2. Ms. Jamie Booth is appointed as Mr. Pennock's third party custodian.

       3. Mr. Pennock shall remain on home detention without electronic monitoring at Ms.
Booth's residence.

       4. Mr. Pennock shall submit to random drug screens on a weekly basis.

       5. Mr. Pennock shall not receive any opiate based prescriptions from a doctor. If pain
medication is necessary for any medical condition, Mr. Pennock shall request that the prescribing
physician refrain from writing an opiate based script.

        6. Mr. Pennock shall report to inpatient rehabilitation in Conway, Arkansas as soon as a
bed is available. He shall remain in the program until completion or adjudication of his case.

       7. Mr. Pennock shall actively seek daytime gainful activity either through employment or
volunteer activities.
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       All other provisions in the Order Setting Conditions Release entered August 6, 2012,
remain in effect. (Doc. No. 91.)

       So Ordered this 241h day of October, 2012.
